       Case 1:19-cv-04355-LGS-GWG Document 623 Filed 11/06/20 Page 1 of 1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,                                           :

                          Plaintiff,                          :
                                                                   ORDER
                                                                   19 Civ. 4355 (LGS) (GWG)
COLLECTOR’S COFFEE INC., et al.,                              :

                           Defendants.                        :
---------------------------------------------------------------x

GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

         The pre-motion conference requirement for the request for a stay (Docket # 622) is
waived. If desired, the Court would permit defendant to elect to rely on his letter to substitute
for his initial motion papers. If defendant so elects, the remaining briefing would be in
accordance with paragraph 2.B of the Court’s Individual Practices and defendant should file a
letter indicating what the briefing schedule is.

        The Court takes this opportunity to note that in Docket # 622 the defendant seems to be
suggesting that there was something unfair to him about the Court’s orders regarding the
contempt hearing. First, the Court notes that beginning in late September it had been planning to
issue an order setting up the contempt hearing and happened to complete its work on October 15,
2020. The Court was unaware that defendant had been indicted when it issued the Order.

        As to the October 30, 2020 order, its goal was to make sure that the virtual platform was
effective and to ensure that the only potential witness known to the Court to be in another
jurisdiction delivered testimony that was legally proper. It does not “direct” Kontilai to travel to
another country if in fact it is legal to provide court testimony from Russia.

        Defendant does point to a lacuna in the Court’s October 30 order but the Court’s
intention should be obvious: no witness, including defendant, may testify from a location where
it would be illegal to do so. Defendant has been required to make certain additional
representations in advance of the contempt hearing because there was an unrebutted
representation that he appeared at his deposition from an automobile. (Docket # 606)

       Obviously, the pendency of the application for a stay does not affect any party’s
responsibility to comply with any obligations or deadlines.

        SO ORDERED.

Dated: November 6, 2020
       New York, New York
